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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

GIANNI VERSACE, S.P.A.,
                                                      Case No. 18-cv-07578
                       Plaintiff,
                                                      Judge Jorge L. Alonso
       v.
                                                      Magistrate Judge Jeffrey Cole
XIE JI PING, et al.,

                       Defendants.


                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Gianni

Versace, S.p.A. hereby dismisses this action with leave to reinstate within one hundred and

eighty (180) days against the following Defendants:

                Defendant Name                                        Line No.
        Ningbo Jamick Clothing Company                                  379
                     Z&L                                                394


Dated this 15th day of March 2019.          Respectfully submitted,

                                            /s/ Justin R. Gaudio
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                                            Justin R. Gaudio
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